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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

LIMA ONE CAPITAL SPECIAL                       )
SERVICING, INC., a Delaware                    )
corporation,                                   )
                                               ) CIVIL ACTION FILE NO.
       Plaintiff,                              )
                                               ) 1:18-CV-04070-MLB
v.                                             )
                                               )
E.S. REAL ESTATE CONSORTIUM,                   )
CORP., a Georgia corporation, et al.           )
                                               )
       Defendants.                             )
                                               )

INTEGRITY SETTLEMENT SERVICES, LLC’S REPLY TO PLAINTIFF’S
    RESPONSE TO INTEGRITY SETTLEMENT SERVICES, LLC’S
   JOINDER IN E.S. REAL ESTATE CONSORTIUM’S MOTION TO
          DISMISS AND MEMORANDUM IN SUPPORT

      COMES NOW, Integrity Settlement Services, LLC (“Integrity”), by and

through its undersigned counsel, and hereby files this Reply for Integrity Settlement

Services, LLC’s Joinder in E.S. Real Estate Consortium, Corp.’s Motion to Dismiss

and Memorandum In Support (“Response to Integrity”) [Doc. 30].

      In Plaintiff’s Response to Integrity, Plaintiff overtly hides the identities of

Lima One, LLC’s (“Lima One”) members “due to confidentiality concerns of these

company members. Exhibit A. Lima One assigned its claims to Plaintiff, “a
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servicing company for litigation.” Id. And yet, in response to a facial challenge to

subject matter jurisdiction, it is improper for Plaintiff to simply assert that “to the

best of Plaintiff’s knowledge, its assignor is not a Georgia citizen….” Response to

Integrity, pp. 3-4.     Further, Plaintiff asserts unsupported, wildly offensive

accusations about Defendant English to unfairly place her and other defendants in a

bad light. Plaintiff cannot make malicious accusations of an FBI investigation

without the slightest basis for such an attack. Moreover, Plaintiff inappropriately

attaches over seventy pages of emails to its Response to Integrity that are not

included in the pleadings. Such improper tactic circumvents procedural rules and,

thus, should not be considered in ruling on the Motion to Dismiss.

                       Arguments & Citation to Authority1

    I.     Plaintiff Continuously Fails To Demonstrate Diversity Of Citizenship.

         The Court should dismiss Lima One Capital Special Servicing, Inc.’s

(“Plaintiff”) Complaint entirely for lack of subject matter jurisdiction. In the Motion

to Dismiss, ESREC attacks this Court’s subject matter jurisdiction under 28 U.S.C.




1
 Having joined the Motion to Dismiss, Integrity adopts and incorporates all
arguments, reasoning, and citations to law and fact, as if fully set forth herein of
ESREC’s Reply to Plaintiff’s Response to Defendant E.S. Real Estate Consortium,
Corp.’s Motion to Dismiss and Memorandum in Support (“ESREC’s Reply”)
[Doc. 17] as well.
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§ 1332.2 Motion to Dismiss, pp. 4-7. When a party factually challenges the subject

matter jurisdiction of the court, plaintiff holds the burden of proving that jurisdiction

exists. OSI, Inc. v. U.S., 285 F.3d 947, 951 (11th Cir. 2002). In Plaintiff’s Response

to Defendant E.S. Real Estate Consortium, Corp.’s Motion to Dismiss and

Memorandum in Support (“Response to ESREC”) [Doc. 11], Plaintiff fails to satisfy

its burden. Response to ESREC, pp. 3-4. Plaintiff criticizes ESREC for contending

that Lima One is a Georgia citizen, when ESREC does not hold the burden of

establishing Lima One’s citizenship. Id. at p. 3. Because citizenship of a limited

liability company is based on the citizenship of its members, to overcome the facial

challenge, Plaintiff merely had to disclose the citizenship of Lima One’s members.

Rolling Greens MHP, L.P. v. Comcast SCH Holdings L.L.C., 374 F.3d 1020, 1022

(11th Cir. 2004). Instead, Plaintiff attaches an affidavit of Lima One’s CFO to prove,

of Lima One’s eight members, that “five of those are individuals, [ ] are all citizens

of South Carolina.” Response to ESREC, p. 3; Id., Exhibit A. Notably, Plaintiff



2
  ESREC argues that Plaintiff collusively manufactured diversity jurisdiction when
Lima One, LLC (“Lima One”), a Georgia limited liability company, assigned its
interest in the alleged transaction to Plaintiff, a Delaware corporation, just one week
before filing the Complaint. Motion to Dismiss, pp. 4-7. English and ESREC are
citizens of Georgia, and but for Lima One’s assignment to Plaintiff, diversity
jurisdiction would not exist. Id. Accordingly, when diversity exists solely due to
collusion, the Court does not retain subject matter jurisdiction. Mississippi ex rel.
Hood v. AU Optronics Corp., 134 S. Ct. 736, 745 (2014).
                                           3
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fails to identify the citizenship of the remaining three members, of which, two are

limited liability companies and one is a limited partnership. Id.

      In ESREC’s Reply, ESREC highlights the Court’s Standing Order Regarding

Civil Litigation (“Standing Order”) [Doc. 4], which clearly mandates that a limited

liability company “must list each member of the LLC or unincorporated entity and

provide specific factual allegations to support the citizenship of each member of the

LLC or unincorporated entity.” Standing Order, pp. 2-3. And yet, in its Certificate

of Interested Person and Corporate Disclosure Statement (“Plaintiff’s CIP”) [Doc.

2], Plaintiff only includes Plaintiff and Lima One, LLC as the “full and complete list

of all parties in this action, including any parent corporation and any publicly held

corporation that owns 10% or more of the stock of a party.” Plaintiff’s CIP, p. 2.

      Almost two months have passed since ESREC alerted Plaintiff to its

deficiency in establishing diversity, and yet Plaintiff still refuses to disclose the full

and complete list of the members of Lima One. Rather, Plaintiff restates identically

its arguments from its Response to ESREC in its Response to Integrity. Response

to ESREC, pp. 2-4; Response to Integrity, pp. 4-7. Plaintiff’s refusal to establish

diversity among the parties is a refusal to establish that this Court has subject matter

jurisdiction. Thus, dismissal of the Complaint entirely is appropriate.




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   II.        The Motion To Dismiss Is Limited To The Four Corners Of The
              Pleadings.

         A.     The Court Should Ignore Prejudicial, Unsupported Statements of an
                Alleged FBI Investigation.

         The Court should ignore in the entirety the statements Plaintiff makes that

there is a current FBI investigation into English (the “FBI Accusation”). Response,

p. 5. Plaintiff includes the FBI Accusation solely to prejudice English and the other

Defendants, including Integrity. Indeed, the Court is limited to the allegations

contained in the Complaint when ruling on the Motion to Dismiss for failure to state

a claim. Hayes v. U.S. Bank Nat. Ass’n, 648 Fed. Appx. 883, 887 (11th Cir. 2016)

(“[a] court is generally limited to reviewing what is within the four corners of the

complaint”); see also Sheppard v. Bank of America, NA, 542 Fed. Appx. 798, 791

(11th Cir. 2013). Even within the Complaint, the allegations still must be greater

than “an unadorned, the-defendant-unlawfully-harmed-me accusation.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009).

         Here, Plaintiff attempts to circumvent the pleading standards of this Court by

omitting averments of the FBI Accusations from its Complaint and only including

the statement in its Response to Integrity. Notably, Plaintiff provides no basis for

its attack, and Plaintiff’s inclusion of such prejudicial allegations in its Response to

Integrity does not deem the statement true. Plaintiff’s counsel should be leery of

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asserting unsupported allegations of criminal investigations, as Rule 3.4(h) of the

Georgia Rules of Professional Conduction provides that a lawyer shall not “present,

participate in presenting or threaten to present criminal charges solely to obtain an

advantage in a civil matter.” See Cohen v. Rogers, 341 Ga. App. 146, 173, 798

S.E.2d 701, 719 (2017) (Presiding Judge McFadden, dissenting in part, concurring

in part).3 The absence of any basis and the failure to include such a statement in the

Complaint reveals Plaintiff’s sole purpose of including the FBI Accusation in its

Response, which is to create a prejudicial effect. Accordingly, the statement should

be disregarded.

      B. Lima One Cannot Assign Its Fraud and RICO Claims To Plaintiff.

      Plaintiff lacks standing to bring assigned claims of fraud and RICO on behalf

of Lima One against Integrity and other Defendants. Codified in O.C.G.A. § 44-12-

24, Georgia has a long-standing precedent that “a right of action for … injuries

arising from fraud to the assignor may not be assigned.” See Morehead v. Ayers,

136 Ga. 488, 488, 71 S.E. 798, 798 (1911); Feeney v. Decatur Developing Co., 47



3
  Dissenting Presiding Judge McFadden stated that he would “vacate the Fulton
County court’s holding that the appellant could be sanctioned for reporting
[defendant’s] conduct to the police or for failing to disclose that report during
negotiations, heeding the Fulton County court that “before reentering any such
finding, to carefully consider Rule 3.4(h) of the Georgia Rules of Professional
Conduct….”
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Ga. App. 353, 170 S.E. 518, 518 (1933) (holding that a plaintiff, as assignee, has no

cause of action against defendants for fraud allegedly perpetrated upon the assignor);

Security Feed & Seed Company of Thomasville, Inc. v. Ne Smith, 213 Ga. 783, 784

(1958) (holding that an assignee of a fraud claim lacks standing because the assignor,

not the assignee, suffered the injury); RES-GA Hightower, LLC v. Golshani, 334

Ga. 176, 178-179, 778 S.E.2d 805, 808 (2015)4 (holding that the holding Ne Smith

supersedes the UFTA, despite predating it). Further, to sufficiently plead a claim

for RICO, Plaintiff must assert that its injury was proximately caused by one or more

of the predicate acts. Wylie v. Denton, 323 Ga. App. 161, 166, 746 S.E.2d 689, 694

(2013) (holding that no causal connection existed between the alleged predicate acts

and injuries when plaintiff’s injuries were the indirect result of predicate acts

directed at third parties); Cox v. Mayan Lagoon Estates, Ltd, 319 Ga. App. 101, 109,

734 S.E.2d 883, 891 (2012) (holding that without a causal connection between the

predicate acts pled and the injuries alleged, the RICO claim is dismissed).

      Here, Plaintiff inappropriately brings a claim for fraudulent misrepresentation

because “Lima One assigned its right to any cause of action arising from this



4
  The court in Golshani addressed the amendment to the Uniform Voidable
Transactions Act (“UVTA”), which allows the assignment of claims under the
UVTA to set aside a property transfer as defrauding creditors, but it nevertheless
upheld that fraud claims are not assignable, pursuant to O.C.G.A. § 44-12-24.
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transaction to Plaintiff.” Comp., ¶ 31. Plaintiff, as assignee, cannot bring a cause of

action for alleged fraud perpetrated against Lima One. Morehead, 136 Ga. at 488.

Even Plaintiff contends that Lima One, not Plaintiff, was allegedly injured as, “Lima

One has not received the balance of the outstanding obligation.” Comp., ¶ 30. The

alleged harm is against Lima One, not Plaintiff, and, thus, Plaintiff’s fraud claim

fails as a matter of law.

      Moreover, Plaintiff fails, as a matter of law, to allege sufficient predicate acts

that would give rise to a civil RICO claim. In its Response to Integrity, Plaintiff

argues that wire fraud and mail fraud suffice as predicate acts to Plaintiff’s injuries.

Response to Integrity, pp. 7-8. This is not correct. In the Complaint, Plaintiff alleges

that “Lima One has alleged two acts that constitute racketeering activity.” Comp., ¶

67 (emphasis added). The underlying predicate acts are based in fraud, which are

clearly unassignable. Morehead, 136 Ga. at 488. Thus, Plaintiff cannot rely on

assigned fraud claims as the basis of its RICO claim. And yet, Plaintiff alleges from

these predicate acts that “Plaintiff has suffered economic damages.” Id. at ¶ 71.

Plaintiff’s inability to plead predicate acts directed at Plaintiff creating a causal

connection to the alleged injury to Plaintiff deems dismissal of the RICO claim

appropriate.




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      C. Plaintiff Cannot Attach Matters Outside the Pleadings to Its Motion To
         Overcome an Insufficiently Pled Complaint.

      The Court should not consider Exhibits A, B, and E attached to the Response

to Integrity, as it is an improper tactic by Plaintiff to circumvent this Court’s

procedural rules by attempting to bolster the Complaint without converting the

Motion to Dismiss to a motion for summary judgment. When ruling on a motion to

dismiss for failure to state a claim, the Court must either “limit itself to the

allegations within the pleading or, at its discretion, treat the motion as one for

summary judgment and provide adequate notice as required by Rule 56(c).”

Universal Express, Inc. v. U.S. S.E.C., 177 Fed. App’x. 52, 53 (11th Cir. 2006); see

Fed. R. Civ. P. 12(b). The court may only consider documents attached to the motion

to dismiss for failure to state a claim without converting it to a motion for summary

judgment if the documents are “(1) central to the plaintiff’s claim and (2)

undisputed.” Day v. Taylor, 400 F.3d 1272, 1276 (11th Cir. 2005); see also Horsley

v. Feldt, 304 F.3d 1125, 1134 (11th Cir. 2002). A document is central to the

complaint when it is “a necessary part of the plaintiff’s effort to make out a claim.”

Basson v. Mortg. Electronic Registration Systems, Inc., 741 Fed. App’x. 770, 771

(11th Cir. 2018) (holding that the two security deeds attached to the motion to

dismiss were central to plaintiff’s complaint because the deeds were identical to the

two assignments attached to the complaint); see also Financial Sec. Assur., Inc. v.
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Stephens, Inc., 500 F.3d 1276, 1284 (11th Cir. 2007) (holding that an insurance

policy was central to plaintiff’s claim because plaintiff refers to its existence and

relies on its terms to hold defendant liable); Lowman v. Platinum Property Mgmt.

Services, Inc., 166 F.Supp.3d 1356, 1358 (N.D. Ga. Feb. 23, 2016) (holding that

email chain attached to the motion to dismiss was central to plaintiff’s complaint

because plaintiff regularly quoted from the email chain throughout the complaint).

Further, “undisputed” means that “the authenticity of the document is not

challenged.” Taylor, 400 F.3d at 1276.

      The Court should not consider the email conversation in Exhibit A because it

is not central to Plaintiff’s claims and its authenticity is disputed by Integrity.

Exhibit A includes alleged email correspondence between Ross Coll and Amy Rice,

neither of which are names even mentioned in the Complaint. Response to Integrity,

Exhibit A. Plaintiff contends that Exhibit A supports its allegation that “Integrity

sent an e-mail confirming its possession of the funds…” Response to Integrity, p.

5. However, at all times in the Complaint, Plaintiff contends that Thomas was actor

on behalf of Integrity, not Amy Rice. Comp., ¶¶ 20, 43, 54. Plaintiff claims that

“Thomas sent an email to Lima One on January 4, 2018 confirming Integrity was in

receipt of the funds…” and “Thomas falsely claims that Integrity was in possession

of the ESRG funds…” and “Thomas served as the conduit to obtain the funds….”

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Id. Alleged emails sent by Amy Rice on behalf of Integrity are not quoted in the

Complaint and far from identical to the e-mails allegedly sent by Thomas in the

Complaint. Lowman, 166 F.Supp.3d at 1358; Basson, 741 Fed. App’x. at 771.

Thus, Exhibit A is not central to Plaintiff’s Complaint and should not be considered

with the Motion to Dismiss.

      Exhibit B, an alleged insurance certificate for Integrity, should also be

disregarded because it is disputed. Even Plaintiff questions its authenticity by

simultaneously alleging that “no policy exists” and that Exhibit B is the insurance

certificate Integrity sent Lima One. Comp., ¶ 24; Response, p. 2; Stephens, Inc., 500

F.3d at 1284. Plaintiff’s doubt, alone, of the authenticity of Exhibit B is reason to

disregard it in ruling on the Motion to Dismiss.

      The Court should not consider Exhibit E5 to the Response to Integrity, as

Plaintiff’s Complaint lacks a single assertion of representations made by Integrity to

Lima One “two weeks after ‘closing.’” Response to Integrity, p. 9. Exhibit E cannot

be central to Plaintiff’s claims, as a matter of law, when Plaintiff fails to assert any

allegations of behavior after the “closing,” and, accordingly, Exhibit E should also

not be considered.



5
 Exhibit E includes 70 pages of e-mail correspondence between Matthew Poole and
Amy Rice after the alleged transaction occurred.
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                          [signature on next page]
    Respectfully submitted this 21st day of February, 2019.

THE BERNSTEIN FIRM, P.C.


                             /s/
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             CERTIFICATE OF COMPLIANCE AND SERVICE

      I hereby certify that this filing complies with the requirements of Local Rule

5.1B (Times New Roman, 14 point) and that I have this day served a copy of the

within and foregoing INTEGRITY SETTLEMENT SERVICES, LLC’S REPLY TO

PLAINTIFF’S RESPONSE TO INTEGRITY SETTLEMENT SERVICES, LLC’S

JOINDER IN E.S. REAL ESTATE CONSORTIUM, CORP.’S MOTION TO

DISMISS AND MEMORANDUM IN SUPPORT by electronically filing the same

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                               [signature on next page]
      So certified, this 21st day of February, 2019.

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